                                    UNITED STATES DISTRICT COURT
                                        Western District of North Carolina
                                              Statesville Division
                                      DOCKET NO: 5:13−cr−00050−RLV−DSC
                                                            )
 UNITED STATES OF AMERICA                                   )
                                                            )                    ENTRY AND
           V.
                                                            )            ACCEPTANCE OF GUILTY PLEA
 Larry Mitchell Snyder                                      )               (RULE 11 PROCEEDING)
      Defendant                                             )
                                                            )

      On the date indicated below, the defendant appeared with counsel, was duly sworn, and answered the
following questions on the record:


Questions (asked by Magistrate Judge)                                                         Defendant's Answers

1.    Do you understand that you are under oath, and that you are required to                 Yes        No
      give truthful answers to the questions I am about to ask?


2.    Do you understand that if you give false information under oath you may be              Yes        No
      prosecuted for perjury or false statement?


3.    After consulting with your attorney, do you want this Court to accept your              Yes        No
      guilty plea to one or more counts in the Bill of Indictment (or Bill of
      Information)?


4.    Do you understand that you have the right to have a U.S. District Judge                 Yes        No
      conduct this proceeding?


5.    Recognizing your right to proceed before a District Judge, do you expressly             Yes        No
      consent to proceed in this Court, that is, before a U.S. Magistrate Judge?


6.    Are you now under the influence of alcohol, medicines, or drugs of any sort?            Yes        No


7.    Is your mind clear, and do you understand that you are here to enter a guilty           Yes        No
      plea in your case?


8.    Have you received a copy of the indictment/information and have you                     Yes        No
      discussed its contents with your attorney?


                  [The charges, maximum penalties, and mandatory minimum sentences
                  (if any) were explained, on the record, at this point in the proceeding.]

9.    Do you fully understand the charge(s) against you, including the maximum                Yes        No
      (and, where applicable, minimum) penalties you face if convicted?




                Case 5:13-cr-00050-FDW-DSC Document 56 Filed 09/12/13 Page 1 of 4
10.   Have you been advised by your attorney that if you are not a citizen of the         Yes   No
      United States, your guilty plea may have adverse immigration
      consequences?

      N/a

11.   Have you been advised by your attorney that if you are not a citizen of the         Yes   No
      United States, your guilty plea may result in deportation or removal from the
      United States?

      N/a

12.   Have you spoken with your attorney about how the U. S. Sentencing                   Yes   No
      Guidelines might apply to your case?


13.   Do you understand that the District Judge will not be able to determine the         Yes   No
      applicable Sentencing Guidelines range until after your Presentence Report
      has been prepared, and you have had an opportunity to comment on it?


14.   Do you also understand that in some circumstances you may receive a                 Yes   No
      sentence that is different−that is, either higher or lower−than that called for
      by the Guidelines?


15.   Do you understand that the Court may order restitution, where applicable?           Yes   No


16.   Do you understand that if the sentence is more severe than you expected, or         Yes   No
      the Court does not accept the government's sentencing recommendation,
      you will still be bound by your plea and will have no right to withdraw it?


17.   Do you understand that parole has been abolished, and that if you are               Yes   No
      sentenced to a term of imprisonment you will not be released on parole?


18.   If your sentence includes imprisonment, do you understand that the District         Yes   No
      Judge may also order a term of "supervised release"?


19.   Do you also understand that if you violate the terms and conditions of              Yes   No
      supervised release, which typically lasts from one to five years, you could be
      returned to prison for an additional period of time?


20.   Do you understand that you have a right to plead NOT GUILTY, to have a              Yes   No
      speedy trial before a judge and jury, to summons witnesses to testify in your
      behalf, and to confront witnesses against you?


21.   If you exercised your right to trial you would be entitled to the assistance of a   Yes   No
      lawyer, would not be required to testify, would be presumed innocent, and
      the burden would be on the government to prove your guilt beyond a
      reasonable doubt. Do you understand all of these rights?




              Case 5:13-cr-00050-FDW-DSC Document 56 Filed 09/12/13 Page 2 of 4
22.   By entering this plea of guilty you are waiving (or giving up) these rights.         Yes     No
      There will be no trial. If your guilty plea is accepted, there will be one more
      hearing, where the District Judge will determine:
       (a) whether there is a factual basis for your plea; and
       (b) what sentence to impose.
      Do you understand that?


23.   Are you, in fact, guilty of the counts in the Bill of Indictment (or Bill of         Yes     No
      Information) to which you have come to court today to plead guilty?


24.   Have the United States and the defendant entered a Plea Agreement in this            Yes     No
      case?


                [The attorneys for the Government and the Defendant summarized the terms of
                any Plea Agreement to the Court, on the record, at this point in the proceeding.
                However, the parties Understand that the written, filed Plea Agreement is the
                best statement of those terms, and therefore "speaks for itself".]

25.   Do you understand those to be the terms of your Plea Agreement, and do               Yes     No
      you agree with those terms?


26.   Has the right to appeal your conviction and/or sentence been expressly               Yes     No
      waived in the Plea Agreement?


27.   Has the right to challenge your conviction and/or sentence in a                      Yes     No
      post−conviction proceeding also been expressly waived in the Plea
      Agreement?


28.   Is that your signature on the Plea Agreement?                                        Yes     No


29.   Has anyone threatened, intimidated, or forced you to enter your guilty plea          Yes     No
      today?


30.   Other than the terms of your Plea Agreement, has anyone made you                     Yes     No
      promises of leniency or a light sentence to induce you to plead guilty?


31.   Have you had enough time to discuss with your attorney any possible                  Yes     No
      defenses you may have to these charges?


32.   Are you satisfied with the services of your attorney in this case?                   Yes     No


33.   Is there anything you would like to say at this time about the services of your      Yes     No
      attorney?


                [Any statement that was made is on the record.]

34.   Have you heard and understood all parts of this proceeding, and do you still         Yes     No
      wish to plead guilty?


               Case 5:13-cr-00050-FDW-DSC Document 56 Filed 09/12/13 Page 3 of 4
Case 5:13-cr-00050-FDW-DSC Document 56 Filed 09/12/13 Page 4 of 4
